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 6   Attorney for Defendant
 7   GEORGE FRANCO
 8                IN THE UNITED STATES DISTRICT COURT FOR THE
 9                          EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                       2:19-MJ-0073 AC
12                             Plaintiff,            STIPULATION AND ORDER TO
13                                                   MODIFY CONDITIONS OF
                   v.                                PRETRIAL RELEASE
14
15   GEORGE FRANCO,
16                            Defendant.
17
18
            Mr. GEORGE FRANCO was released on conditions in May 2019 from the Central
19
     District, to which the Eastern District later concurred, and is supervised by the Pretrial
20
     Services Agency. After consultation with Assistant United States Attorney Grant Rabenn
21
     and Pretrial Services Officer Melissa Haberer, the defense requests and the government
22
     does not oppose, that Mr. FRANCO’s conditions of pretrial release be modified as follows.
23
            ADD a drug treatment condition. Specifically, it should read:
24
            “You must participate in a program of medical or psychiatric treatment, including
25
     treatment for drug or alcohol dependency, as approved by the pretrial services officer. You
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     must pay all or part of the costs of counseling services based upon your ability to pay, as
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     determined by the pretrial services officer.”
28
            All other conditions remain in full force and effect.


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 3                                            Respectfully submitted,
 4
 5   Dated: July 2, 2019                      /s/Tasha Paris Chalfant
                                              TASHA PARIS CHALFANT
 6
                                              Attorney for Defendant
 7                                            GEORGE FRANCO
 8
     Dated: July 2, 2019                      /s/ Tasha Paris Chalfant for
 9                                            GRANT RABENN
                                              Assistant United States Attorney
10                                            Counsel for Plaintiff
11
12
13
                                       ORDER
14
15         IT IS SO ORDERED.
16   Dated: July 2, 2019
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